     Case 18-66555-wlh                          Doc 8      Filed 10/04/18 Entered 10/05/18 01:41:06                                 Desc Imaged
                                                          Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1                  Robert Michael Jones                                                     Social Security number or ITIN   xxx−xx−3596

                          First Name     Middle Name     Last Name                                 EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                           Social Security number or ITIN _ _ _ _
(Spouse, if filing)       First Name     Middle Name     Last Name
                                                                                                   EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Georgia
Court website: www.ganb.uscourts.gov                                                               Date case filed for chapter 13 10/1/18

Case number:          18−66555−wlh



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to
collect debts from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue,
garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from
debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees.
Under certain circumstances, the stay may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a
stay.
Confirmation of a chapter 13 plan may result in a discharge. (See line 13 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov). Copy fees or access charges may apply. A free automated response
system is available at 866−222−8029 (Georgia Northern). You must have case number, debtor name, or SSN when calling.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                    About Debtor 1:                                           About Debtor 2:
1. Debtor's full name                               Robert Michael Jones

2. All other names used in the
   last 8 years
                                                    5458 Mountain View Pass
3. Address                                          Stone Mountain, GA 30087
                                                    Howard P. Slomka                                        Contact phone (404) 800−4001
     Debtor's attorney                              Slipakoff & Slomka, PC
4.                                                  Overlook III − Suite 1700
     Name and address                               2859 Paces Ferry Rd, SE                                 Email: se@myatllaw.com
                                                    Atlanta, GA 30339

5. Bankruptcy trustee                               Nancy J. Whaley                                           Contact phone (678) 992−1201
                                                    Nancy J. Whaley, Standing Ch. 13 Trustee                  www.njwtrustee.com
                                                    303 Peachtree Center Avenue
     Name and address                               Suite 120, Suntrust Garden Plaza
                                                    Atlanta, GA 30303

6. Bankruptcy clerk's office                                                                                 Office Hours: 8:00 a.m. − 4:00 p.m.
                                                    M. Regina Thomas
                                                    Clerk of Court                                           Court website: www.ganb.uscourts.gov
     Documents in this case may be
     filed at this address. You may                 1340 United States Courthouse
     inspect all records filed in this case                                                                  Contact phone 404−215−1000
                                                    75 Ted Turner Drive SW
     at this office or online at                    Atlanta, GA 30303
      www.pacer.gov.
                                                                                                                   For more information, see page 2



Official Form 309I (For Individuals or Joint Debtors)       Notice of Chapter 13 Bankruptcy Case                                            page 1
   Case 18-66555-wlh                            Doc 8        Filed 10/04/18 Entered 10/05/18 01:41:06                                            Desc Imaged
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Debtor Robert Michael Jones                                                                                                                 Case number 18−66555−wlh

7. Meeting of creditors                           November 15, 2018 at 12:30 PM                                         Location:
                                                                                                                        Third Floor − Room 368, Russell Federal
                                                                                                                        Building, 75 Ted Turner Drive SW, Atlanta, GA
    Debtors must attend the meeting               The meeting may be continued or adjourned to a later date. If so,     30303
    to be questioned under oath. In a             the date will be on the court docket.
    joint case, both spouses must
    attend.                                       TO THE DEBTOR: Bring an original government issued photo ID
    Bring a copy of this notice with              and confirmation of social security number. Provide the Trustee a
    you. Creditors may attend, but are            copy of your most recently filed tax return seven days prior to the
    not required to do so. Cellular               meeting, but DO NOT FILE WITH THE COURT.
    phones and other devices with
    cameras are not allowed in the
    building.                                     TO OTHER PARTIES: Objections to confirmation must be filed
                                                  and served in accordance with FRBP 3015 at least seven days
                                                  before the date set for the confirmation hearing.
8. Deadlines                                       Deadline to file a complaint to challenge                                  Filing deadline: 1/14/19
                                                   dischargeability of certain debts: You must file:
    The bankruptcy clerk's office                  •    a motion if you assert that the debtors are
    must receive these documents and                    not entitled to receive a discharge under
    any required filing fee by the                      U.S.C. § 1328(f) or
    following deadlines.                           •    a complaint if you want to have a particular
                                                        debt excepted from discharge under
                                                        11 U.S.C. § 523(a)(2) or (4).
                                                   Deadline for all creditors to file a proof of claim                        Filing deadline: 12/10/18
                                                   (except governmental units):
                                                   Deadline for governmental units to file a proof of                         Filing deadline: 4/1/19
                                                   claim:


                                                   Deadlines for filing proof of claim:
                                                   A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                                   www.uscourts.gov or any bankruptcy clerk's office.

                                                   To file a claim electronically, visit www.ganb.uscourts.gov and access the ePOC tab.
                                                   If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                                   a proof of claim even if your claim is listed in the plan or schedules filed by the debtor.
                                                   Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                                   claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                                   For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                                   including the right to a jury trial.


                                                   Deadline to object to exemptions:                                          Filing deadline:   30 days after the
                                                   The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                                   believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                                   may file an objection.

9. Filing of Plan, Hearing on                     Debtor's counsel is responsible for mailing the plan if not filed contemporaneously with the petition.
   Confirmation of Plan,                          The hearing on confirmation will be held: Date: 12/19/18 ,         Time: 01:30 PM ,   Location: Courtroom 1403,
   Allowance and Approval of                      Russell Federal Building, 75 Ted Turner Drive SW, Atlanta, GA 30303
   Debtor's Counsel Attorneys
   Fees
10. Creditors with a foreign                       If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                        extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                                   any questions about your rights in this case.
11. Filing a chapter 13                            Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                                according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                                   plan and appear at the confirmation hearing. The debtor will remain in possession of the property and may
                                                   continue to operate the business, if any, unless the court orders otherwise.
12. Exempt property                                The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                   distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                                   exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                                   the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                             Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                                   However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                                   are made. A discharge means that creditors may never try to collect the debt from the debtors personally
                                                   except as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                                   523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                                   If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f),
                                                   you must file a motion.




Official Form 309I (For Individuals or Joint Debtors)         Notice of Chapter 13 Bankruptcy Case                                                      page 2
        Case 18-66555-wlh              Doc 8     Filed 10/04/18 Entered 10/05/18 01:41:06                          Desc Imaged
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                                               United States Bankruptcy Court
                                               Northern District of Georgia
In re:                                                                                                     Case No. 18-66555-wlh
Robert Michael Jones                                                                                       Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113E-9                  User: trp                          Page 1 of 1                          Date Rcvd: Oct 02, 2018
                                      Form ID: 309i                      Total Noticed: 16


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 04, 2018.
db             +Robert Michael Jones,   5458 Mountain View Pass,    Stone Mountain, GA 30087-6032
21857342       +Carrington Mortgage Se,   1600 S Douglass Rd Ste 2,    Anaheim, CA 92806-5951
21857347       +Homeside Propertie,   2555 Westside Parkway,   Suite 600,    Alpharetta, GA 30004-4191
21857352       +Jana C Jones,   4140 John Alden Court,   Stone Mountain, GA 30083-4719
21857355       +Us Auto Finance/us Aut,   824 N Market St Ste 220,    Wilmington, DE 19801-3024

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: se@myatllaw.com Oct 02 2018 22:32:45       Howard P. Slomka,
                 Slipakoff & Slomka, PC,    Overlook III - Suite 1700,    2859 Paces Ferry Rd, SE,
                 Atlanta, GA 30339
tr             +E-mail/Text: bnc@njwtrustee.com Oct 02 2018 22:35:50       Nancy J. Whaley,
                 Nancy J. Whaley, Standing Ch. 13 Trustee,    303 Peachtree Center Avenue,
                 Suite 120, Suntrust Garden Plaza,    Atlanta, GA 30303-1216
21857343       +E-mail/Text: bankoe@ccbinc.net Oct 02 2018 22:33:02       Eagle Accounts Group I,
                 7510 S. Madison Avenue,    Indianapolis, IN 46227-5510
21857345       +E-mail/Text: bknotice@ercbpo.com Oct 02 2018 22:34:35       Erc,   8014 Bayberry Rd,
                 Jacksonville, FL 32256-7412
21857346        EDI: GADEPTOFREV.COM Oct 03 2018 01:53:00      Georgia Department of Revenue,
                 1800 Century Blvd,   Suite 17200,    Atlanta, GA 30345
21857348       +EDI: IIC9.COM Oct 03 2018 01:53:00      I C System Inc,    Po Box 64378,
                 Saint Paul, MN 55164-0378
21857349       +E-mail/Text: EBN_IndianapolisIMC@receivemorermp.com Oct 02 2018 22:36:11
                 Imc Credit Services,    6955 Hillsdale Ct,   Indianapolis, IN 46250-2054
21857350        EDI: IRS.COM Oct 03 2018 01:53:00      Internal Revenue Service,    PO Box 7346,
                 Philadelphia, PA 19101-7346
21857354       +E-mail/Text: helen.ledford@nrsagency.com Oct 02 2018 22:36:16       Nationwide Recovery Sv,
                 Po Box 8005,   Cleveland, TN 37320-8005
21859941        E-mail/Text: usagan.bk@usdoj.gov Oct 02 2018 22:34:11       United States Attorney,
                 Northern District of Georgia,    75 Ted Turner Drive SW, Suite 600,     Atlanta GA 30303-3309
21857356       +E-mail/Text: bkr@virtuososourcing.com Oct 02 2018 22:36:17       Virtuoso Sourcing Grou,
                 4500 E Cherry Creek Sout,    Denver, CO 80246-1500
                                                                                               TOTAL: 11

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
21857344*        +Eagle Accounts Group I,   7510 S. Madison Avenue,   Indianapolis, IN 46227-5510
21857351*         Internal Revenue Service,   PO Box 7346,   Philadelphia, PA 19101-7346
21857353*        +Jana C Jones,   4140 John Alden Court,   Stone Mountain, GA 30083-4719
                                                                                              TOTALS: 0, * 3, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 04, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 2, 2018 at the address(es) listed below:
              Howard P. Slomka   on behalf of Debtor Robert Michael Jones se@myatllaw.com,
               myecfcalendar@gmail.com;myatllaw@gmail.com;info@myatllaw.com;notices@nextchapterbk.com;SlomkaTR74
               878@notify.bestcase.com
              Nancy J. Whaley   ecf@njwtrustee.com
                                                                                            TOTAL: 2
